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EXHIBIT M




John H Schneider revocable trust ownership of capital account in Schneider limited
partnership available to trustee Womack for liquidation. This trust WAS NOT
revoked.




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